Case 1:17-cv-OOl41-PLI\/|-P.]G ECF No. 9-1 filed 02/16/17 Page|D.€S Page 1 of 6

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STATE OF MICHIGAN

SIXTIETH DISTRICT COURT (MUSKEGON COUNTY)

 

THE PEOPLE OF THE STATE OF MICHIGAN,
v District Court File
Number: 08-105995-FY
ROGER DALE ROBERTS,
Defendant.
/
COMPLAINT AND WARRANT AUTHORIZATION
BEFORE MAGISTRATE MICHAEL VANEPPS
Muskegon, Michigan - Friday, October 31, 2008

APPEARANCES:

For the People: None. .
JFor the Defendant: None.

Recorded by: MAGISTRATE MICHAEL VANEPPS

Transcribed by: VALERIE ALCORN (CER-6232)

Certified Electronic Court Reporter
(231) 724-6349

VALERIE ALOORN CER6Z32

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1 TABLE OF CONTENTS

 

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Norton Shores Police Department

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None.

EXHIBITS: IDENTIFIED RECEIVED

None.

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Muskegon, Michigan
Friday, October 31, 2008 at 3:31 p.m.

MAGISTRATE VANEPPS: Do you solemnly swear or affirm
to tell the truth, the whole truth and nothing but the truth,

so help you?

OFFICER DAVIS: I dO.

OFFICER JAMES DAVIS

Sworn by the Magistrate at 3:31 p.m., testified:

MAGISTRATE VANEPPS: OB-lO5995-FY, People Of the
State of Michigan versus Roger Roberts. One count of Child
Sexual Abusive Activity with a Habitual Fourth.

THE WITNESS: Officers were dispatched to meet with
the victim and her mother at the hospital to alleged sexual
assault by Mr. Roberts. Mr. Roberts is the owner of Power
House Gym. He ran an add in the paper for a model. The
victim responded to the addf She is l7-years~old. He
gave her a pass to use the gym, free tanning to tan and
advised her he would be taking pictures of her clothed and
nude. She met with him at his house. She was l7-years-old
at the time. He told her and her parents that photographs
couldn't be released until she was 18, so he would just hang
on to them until then. Meets her at the house. Once there,
he begins taking pictures of her. She takes off her top -
says she's not comfortable doing this. He tells her she needs

to relax. Goes up to her, drops his pants, sticks his penis

VALERIE ALCORN CER6232

OFFICIAL ELECTRONIC COURT REPORTE.R
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1 and his genitals in her face forcing her to have oral sex --

2 perform oral sex on him, She tells him, "Please stop." He

3 tells her she needs to relax - this is how she's going to make
4 lt in the business. He then gets her on the bed. lShe's

5 face down on the bed ~ he penetrates her vaginally from

6 behind. She tells him, "Please get off me. Stop. This isn‘t

7 right." He says, "You got to get used to this for the

0 business." Takes his cellphone camera out and takes small

9 video clips of him doing this - penetrating her and having
10 sexual relations with her. Tells her he could use these for a
11 demo tape for her, but again won't release them until she's

12 v 18. This goes on, She ends up leaving, Tells her parents.

_______ 13 They do the rape kit to see if she had sex, which it does show
14 the sexual -- that she had had sex. He admitted to doing
15 - these things, but says he felt it was consensual, she wanted
16 the nude photographs and pornography, so he was just there as
17 the photographer doing it and had told her and her parents
18 that this often happens between the photographer and the
19 model. He has three prior felonies in Muskegon County for
20 building violations and builder contract violations.
21 MAGISTRATE VANEPPS: Okay. I find probable cause to
22 exist and will therefore sign the warrant as written.
23 fProceedings were concluded at 3:33 p.m.)
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STATE OF MICHIGAN )
)

COUNTY OF MUSKEGON )

I certify that this transcript, consisting of 5 pages,
is a complete, true, and correct transcript -of the
proceedings and testimony taken in this case on Friday,

October~3l, 2008».4

Date zalerie Alcorn (CER-6232)
Certified Electronic Reporter
60th District Court
Muskegon, Michigan 49442

VALERIE ALCORN CER6232

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